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UNITED STATES DISTRICT CoURT "/’3`¢// g

wESTERN DISTRICT oF TENNESSEE :’ \§ ‘ [%

EASTERN DIvIsIoN w
HENRY C. CAST, )
)
Plaintiff, )
)

v. ) No. 05-1098-T

)
)
CoMMISSIoNER oF SoCIAL SECURITY, )
)
Defendant. )

 

ORDER ALLOWING ADDITIONAL TIME TO FILE BR_IEF

 

The plaintiffs motion for additional time to file a brief is granted The

hiwa

,United States District Court

Date: § % wsi

plaintiff Shall flle a brief by June 24, 2005.

This document entered on the docket sheet in compliance
wnh nme 55 and cri/9 (a) FRCP on 67 "52505

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This notice confirms a copy of the document docketed as number ll in
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Honorable J ames Todd
US DISTRICT COURT

